Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 1 of 39

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

RONALD E. POWELL; ROBERT O’TOOLE;
ROBERT WILSON; BRIAN JORDAN; DONALD G.
SCHAPER; AND WILLIAM R. SEEHAFER, as (Case No.
trustees of The United Food & Commercial Workers
Union & Employers Midwest Pension Fund, on behalf CLASS ACTION COMPLAINT
of that plan and other similarly situated benefit plans,
JURY TRIAL DEMANDED
Plaintiffs,

Vv.

OCWEN FINANCIAL CORPORATION; OCWEN
LOAN SERVICING, LLC; OCWEN MORTGAGE
SERVICING, INC.; ALTISOURCE PORTFOLIO
SOLUTIONS, S.A.; ALTISOURCE RESIDENTIAL
CORPORATION; ALTISOURCE ASSET
MANAGEMENT CORPORATION; ASSURANT,
INC.; STANDARD GUARANTY INSURANCE
COMPANY; AMERICAN SECURITY INSURANCE
COMPANY; VOYAGER INDEMNITY
INSURANCE COMPANY; AMERICAN BANKERS
INSURANCE COMPANY OF FLORIDA; CROSS
COUNTRY HOMES SERVICES, INC.; HOMESURE
OF AMERICA, INC.; HOMESURE SERVICES, INC.;
and HOMESURE PROTECTION OF VIRGINIA,
INC.,
Defendants.

 

 
Case 1:18-cv-01951-VSB-SDA Document1 Filed 03/05/18 Page 2 of 39

I. INTRODUCTION

1. This is a civil enforcement action under the Employee Retirement Income Security
Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seg.

2. The conduct at issue here relates to the widespread securitization of subprime
mortgages that precipitated the 2008 financial crisis. The misconduct in subprime mortgage
securitization and the harm it caused is well-known and has been the subject of much litigation.
Most of that litigation has now concluded or is in its last throes. Defendants’ misconduct came
later, after the housing bubble burst, subprime mortgage lending collapsed, homeowners’ equity
disappeared and millions went underwater, defaults on mortgages and foreclosures became
rampant, and investments in mortgages became toxic assets.

3. Plaintiffs are trustees of the United Food & Commercial Workers Union &
Employers Midwest Pension Plan (“the Plan’), a benefit plan subject to the protections of ERISA.
Like many other private benefit plans subject to the protections of ERISA (“benefit plans”), the
Plan invested in residential mortgages through financial instruments known as mortgage-backed
securities.

4, Benefit plans invested in securitized mortgages either directly, as did the Plan here,
or through entities whose underlying assets include plan assets by reason of one more more benefit
plans’ investment in the entity. 29 C.F.R. §2510.3-101(f)(2)(ii1).

5. The Plan invested in securitized mortgages held in two trusts created by subprime
lender American Home Mortgage Investment Corporation (“American Home”). The Plan acquired
a Class VI-A-1 Note issued by American Home Mortgage Investment Trust 2004-4 (“Trust 2004-
4”), CUSIP Number 02660TCJ0 for $320,408.00. The Plan acquired a Class 111-A-3 Note, CUSIP
Number 02660TGD9 issued by American Home Mortgage Investment Trust 2005-3 (“Trust 2005-

3”) for $900,000. The Plan has held both investments continuously since 2006.
Case 1:18-cv-01951-VSB-SDA Document1 Filed 03/05/18 Page 3 of 39

6. A securitization trustee is the legal owner of the mortgages. The Plan and other
investors are the beneficial or equitable owners of the mortgages.

7. Because of the Plan’s beneficial ownership interest in the securitized mortgages
held in Trust 2004-4 and Trust 2005-3 (together, “the American Home trusts”), the mortgages are
plan assets.

8. Defendant Ocwen Financial Corporation was the manager or “servicer” of the
securitized mortgages in the American Home trusts. Ocwen abused the role of servicer, a role
previously thought to be ministerial, to profit from the foreclosure crisis. Ocwen’s self-enrichment
was at the expense of the Plan and other benefit plans that invested in securitized mortgages.

9. Millions of American families depend upon those benefit plans for health care and
retirement income, and millions were harmed by Ocwen’s conduct.

10. Ocwen exercised sweeping, unchecked control of the management and disposition
of securitized mortgages, and was a fiduciary under ERISA to the benefit plans that invested in
those mortgages. As a fiduciary to benefit plan investors in securitized mortgages, Ocwen owed
those benefit plan investors a duty of diligence and undivided loyalty. Instead, Ocwen consistently
acted to increase its own profits to the detriment of investors.

11. Ocwen sabotaged mortgage modifications and otherwise pushed struggling
homeowners into needless default and foreclosure, which greatly increased the plans’ losses.
Ocwen did so because Ocwen profited more from mortgages in default or foreclosure than from
performing mortgages.

12. Ocwen charged excessive or otherwise illegal fees for late payments, partial
payments, bounced checks and the like. Ocwen treated a homeowner’s next monthly payment as
partial payment if the payment did not include those fees, a practice known as fee pyramiding.
Ocwen charged excessive premiums for force-placed insurance and excessive charges for services

associated with default and foreclosure, such as home inspections, appraisals, and maintenance
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 4 of 39

and marketing of foreclosed homes. Ocwen split profits with force-placed insurers, home warranty
companies and other vendors, or took commissions or other payments that are per se breaches of
fiduciary duty.

13. Ocwen used the control of securitized mortgages to take illegal profits, and
Ocwen’s breach of fiduciary duty caused enormous losses on securitized mortgages in which the
Plan and other benefit plans invested. That misconduct, and those losses and ill-gotten profits, are
the subject of this action.

14. Under the governing documents of securitization trusts, investors, the beneficial
owners of the securitized mortgages, are effectively unable to bring legal actions to enforce their
rights against third parties. The securitization trustees, as legal owners of the securitized
mortgages, have legal authority to act on behalf of investors,

15. The securitization trustees have conflicting loyalties. The financial institutions
involved in mortgage securitization and servicing are connected by a complex network of legal
and financial relationships. Many securitization trustees, or sibling subsidiaries of the same
corporate parent, are servicers for other trusts and sponsors for still more. Diligent enforcement of
investor rights across all trusts would be in the best interest of investors, but would be ruinous for
many financial institutions. Willful blindness and complicit passivity by securitization trustees has
allowed financial institutions involved in mortgage securitization to avoid those consequences and
visit losses instead on investors, the beneficial owners of the mortgages. Securitization trustees
have failed to protect investors, and that failure has left investors defenseless against servicers’
misconduct.

16. But the provisions in the governing documents that have stymied claims by
investors against servicers are void as against public policy with respect to claims on behalf of

benefit plans for breach of fiduciary duty under ERISA.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 5 of 39

17. Plaintiffs bring this action against Ocwen and its co-defendants on behalf of a class
of trustees of benefit plans that invested in securitized mortgages serviced by Ocwen. On behalf
of the families that depend upon those benefit plans, Plaintiffs seek to recover losses from Ocwen’s
breach of fiduciary duties, to disgorge Ocwen’s profits from prohibited self-dealing, and to
disgorge the profits from other defendants that knowingly participated in those prohibited
transactions.

18. Plaintiffs also seek to enjoin Ocwen and related defendants from receiving any
consideration from any party in connection with transactions that involve plan assets, a bright line
violation of the statute, and other equitable relief.

Il. JURISDICTION AND VENUE

19. Plaintiffs are benefit trustees and thererfore fiduciaries of the Plan empowered to
bring an action to (1) recoup losses and obtain other appropriate relief for breach of fiduciary duty
under 29 U.S.C § 1132(a)(2) and 29 U.S.C § 1109 and (2) to obtain appropriate equitable relief
pursuant to 29 U.S.C. § 1132(a)(3).

20. This Court has federal subject matter jurisdiction over this action pursuant to 28
U.S.C. § 1331 (federal question) and 29 U.S.C. § 1132(e)(1) (ERISA). The district courts of the
United States have exclusive jurisdiction over claims for breach of fiduciary duty under ERISA.
29 U.S.C. § 1132(e)(1).

21. This Court has personal jurisdiction over each Defendant because each Defendant
can be found in and transacts business in this District. In addition, many acts prohibited by ERISA
occurred in this District.

22. Venue is proper in this District because some of Defendants’ conduct for which
Plaintiffs seek relief occurred in this district and Defendants may be found in this district. 28 U.S.C.

§ 1391(b) and 29 U.S.C. § 1132(e)(2).
Case 1:18-cv-01951-VSB-SDA Document1 Filed 03/05/18 Page 6 of 39

II. PARTIES
A. PLAINTIFFS

23. Plaintiffs Ronald E. Powell, Robert O’Toole, Robert Wilson, Brian Jordan, Ronald
G. Schaper and William R. Seehafer are trustees and therefore fiduciairies of the Plan, which has
its principal offices in Chicago, ILlinois.

B. DEFENDANTS

24. Ocwen Financial Corporation is a publicly traded Florida corporation that
maintains its principal place of business in West Palm Beach, Florida. William C. Erbey owned
16.1% of Ocwen Financial Corporation on December 31, 2016.

25. Ocwen Mortgage Servicing, Inc. is a U.S. Virgin Islands corporation with
headquarters in Christiansted, U.S. Virgin Islands. Ocwen Mortgage Servicing, Inc. is a wholly
owned subsidiary of Ocwen Financial Corporation.

26. Ocwen Loan Servicing, LLC is a Delaware limited liability company with
headquarters in West Palm Beach, Florida. Ocwen Loan Servicing LLC is a wholly owned
subsidiary of Ocwen Mortgage Servicing, Inc.

27. Ocwen Financial Corporation, Ocwen Mortgage Servicing, Inc., and Ocwen Loan
Servicing, Inc. are collectively referred to herein as “Ocwen” or “the Ocwen Defendants.” The
Ocwen Defendants have shared employees and offices and file a consolidated financial statement
with Ocwen Financial Corporation’s public disclosures. Ocwen Financial Corporation directs and
participates in the operation of all the Ocwen Defendants, and the Ocwen Defendants otherwise
operate as a common enterprise. The conduct of any Ocwen entity can be attributed to all the
Ocwen Defendants.

28.  Altisource Portfolio Solutions, S.A. is a Luxembourg corporation with principal

offices in Luxembourg. William C. Erbey owned 32.56% of the shares on March 20, 2017.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 7 of 39

29.  Altisource Residential Corporation is a Maryland corporation with its principal
place of business in Christiansted, U.S. Virgin Islands. As of April 7, 2014, William C. Erbey
owned 4.4% of Altisource Residential. Erbey was required to resign as Chairman of the Board in
2014. Altisource Portfolio Solutions S.A. owned 7.7% of Altisource Residential Corporation as
of April 12, 2017.

30. Altisource Asset Management Corporation is a U.S. Virgin Islands corporation
with its principal place of business in Christiansted, U.S. Virgin Islands. It is a subsidiary of
Altisource Residential Corporation. William C. Erbey owned 47.1% of Altisource Asset
Management Corporation as of April 12, 2017.

31. Altisource Portfolio Solutions, S.A, Altisource Residential Corporation, and
Alstisource Asset Management Corporation are referred to collectively herein as “Altisource” or
“the Altisource Defendants.”

32. Assurant, Inc. is a Delaware corporation with its principal place of business in New
York, New York.

33. Standard Guaranty Insurance Company is a Delaware company with its principal
place of business in Atlanta, Georgia. It is authorized to do business across the United States
except Alaska, Connecticut, Maine, Massachusetts, New York, Pennsylvania, Texas, and
Wyoming. It is an underwriting entity of Assurant, Inc.

34. American Security Insurance Company is a Delaware company with its principal
place of business in Atlanta, Georgia. It is authorized to do business across the United States
except New Hampshire. It is an underwriting entity of Assurant, Inc.

35. Voyager Indemnity Insurance Company is a Georgia company with its principal
place of business in Atlanta, Georgia. It is authorized to do business in Georgia. It is an

underwriting entity of Assurant, Inc.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 8 of 39

36. American Bankers Insurance Company of Florida is a Florida company with its
principal place of business located in Miami, Florida. It is authorized to do business across the
United States. It is an underwriting entity of Assurant, Inc.

37. Assurant, Inc., Standard Guaranty Insurance Company, American Security
Insurance Company, Voyager Indemnity Insurance Company, and American Bankers Insurance
Company of Florida are referred to collectively herein as “Assurant” or “the Assurant Defendants.”

38. | HomeSure Services, Inc. is a Florida corporation with its principal place of business
located in Fort Lauderdale, Florida.

39. Cross Country Home Holdings, Inc. is a Florida corporation with its principal place
of business located in Fort Lauderdale, Florida. It is a subsidiary or affiliate of HomeSure Services,
Inc.

40. HomeSure of America, Inc. is a Florida corporation with its principal place of
business located in Fort Lauderdale, Florida. It is a subsidiary or affiliate of HomeSure Services,
Inc.

41. HomeSure of Virginia, Inc. is a Virginia corporation with its principal place of
business located in Fort Lauderdale, Florida. It is a subsidiary or affiliate of HomeSure Services,
Inc.

42. HomeSure Services, Inc., Cross Country Home Holdings, Inc., HomeSure of
America, Inc., and HomeSure of Virginia, Inc. are referred to collectively herein as “the HomeSure
Defendants.”

IV. MORTGAGE SECURITIZATION AND THE PLAN’S INVESTMENT

43. Mortgage securitization is a mechanism for investing in pools of mortgages without
the burden of management and, in theory, with less risk than direct ownership of a smaller number

of whole mortgages would present. Mortgage securitization has been a frequent subject of
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 9 of 39

litigation in the federal courts since the financial crisis, and numerous court decisions explain the
process.

44. Mortgage securitizations are structured to allow investors to realize significant
advantages under federal tax laws as “real estate mortgage investment conduits” (“REMICs”) or
other pass-through entities.

45. Mortgage securitizations are structured either as New York common law trusts or
Delaware Statutory Trusts.

46. Securitization trustees are legal owners and investors are equitable or beneficial
owners of securitized mortgages held in New York common law trusts and Delaware Statutory
Trusts alike.

47. Both of the American Home trusts are Delaware Statutory Trusts. The legal effect
of the governing documents for the American Home trusts are identical for purposes of this action.

48. American Home created the American Home trusts in a series of transactions that
culminated in the sale to the American Home trusts of a number of mortgages that American Home
originated or purchased from correspondent lenders that originated mortgages for American Home
to buy.

49. Trust 2004-4 conveyed legal title to the mortgages, along with related legal rights,
to a securitization trustee “as trustee for the benefit of the Holders of the Notes” in the Granting
Clause of an Indenture agreement (the “Trust 2004-4 Indenture”) between Trust 2004-4 and the
securitization trustee dated December 21, 2004. A copy of the Trust 2004-4 Indenture is appended
hereto as Exhibit A and incorporated herein by reference.

50. Trust 2005-3 conveyed legal title to the mortgages, along with related legal rights,
to a securitization trustee “as trustee for the benefit of the Holders of the Notes” in the Granting

Clause of an Indenture agreement (the “Trust 2005-3 Indenture”) between Trust 2005-3 and the
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 10 of 39

securitization trustee dated September 20, 2005. A copy of the Indenture is appended hereto as
Exhibit B and incorporated herein by reference.

51. The Trust 2004-4 Indenture provides that the trust “shall not engage in any business
other than as set forth with respect thereto in the Trust Agreement and other than financing,
purchasing, owning and selling and managing the Mortgage Loans...and the issuance of the Notes
and Certificates in the manner contemplated by this Indenture...and all activities incidental
thereto.” Trust 2004-4 Indenture, section 3.22.

52. The Trust 2005-3 Indenture provides the same. Trust 2005-3 Identure, section 3.22.

53. Neither of the American Home trusts have any assets or liabilities other than the
mortgages and related rights and duties, and at no time have either of the American Home trusts
engaged in the production or sale of a product or service other than the investment of capital in
mortgages.

54. The Trust 2004-4 Indenture provides that Trust 2004-4 would issue non-recourse
Notes to investors for payment of principal and interest on the securitized mortgages. The
_ obligation “is limited in right of payment to amounts available from the trust estate as provided in
the Indenture” and the amount of payment “may be less than the amount shown on the face” of the
notes. Indenture, exhibit A-1.

55. Trust 2005-3 provides the same. Trust 2005-3 Indenture, Exhibit A-1.

56. The governing documents of Trust 2004-4 include a Servicing Agreement (the
“Trust 2004-4 Servicing Agreement”), also dated December 21, 2004, between Trust 2004-4, the
securitization trustee, and American Home Mortgage Servicing, Inc., a wholly owned subsidiary
of American Home, for management of the securitized mortgages in the estate of Trust 2004-4. A
copy of that agreement is appended hereto as Exhibit C and incorporated by reference herein.

57. The governing documents of Trust 2005-3 also include a Servicing Agreement (the

“Trust 2005-3 Servicing Agreement”), dated September 21, 2005, between Trust 2005-3, between
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 11 of 39

American Home, the securitization trustee, Wells Fargo Bank, N.A. as Master Servicer, and
American Home Mortgage Servicing, Inc., for management of the securitized mortgages in the
estate of Trust 2005-3. A copy of that agreememt is appended hereto as Exhibit D and incorporated
by reference herein.

58. The role of Wells Fargo Bank, N.A. as master servicer for Trust 2005-3 under the
governing documents was almost exclusively to supervise American Home Mortgage Servicing,
Inc. as servicer. Wells Fargo Bank, N.A. did little if anything to supervise American Home
Mortgage Servicing, Inc. or successor servicers, and did nothing at all to hold any servicer
accountable on behalf of investors. The role of the “master servicer” for Trust 2004-4 and of the
“servicer” for Trust 2005-3 were effectively the same.

59. The securitization trustees had express contractual authority to act on investors’
behalf, and investors were effectively denied any power to act on their own behalf. The Granting
Clause of the Trust 2004-4 Indenture conveyed to the securitization trustee “all present and future
claims, demands, causes and choses in action in respect” to the securitized mortgages and related
rights and interests. Trust 2004-4 Indenture, Granting Clause (k). Investors cannot bring legal
claims unless the holders of at least 25 percent of the balance on the notes first “made a written
request to [the securitization trustee] to institute such Proceeding...in its own name as
[securitization trustee] hereunder” and met certain other requirements, and the securitization
trustee failed to act. Trust 2004-4 Indenture, section 5.06

60. The Trust 2005-3 Indenture also conveyed to the securitization trustee “all present
and future claims, demands, causes and choses in action in respect of” the securitized mortgages
and related rights and interests.” Trust 2005-3 Indenture Granting Clause (g). The Trust 2005-3
also denied investors any right to bring legal claims on their own behalf unless the holders of 25

percent of the balance of the notes “made a written request to the [securitization trustee] to institute
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 12 of 39

such Proceeding...in its own name as [securitization trustee] hereunder” and met other
requirements, and the securitization trustee failed to act. Trust 2005-3 Indenture, Section 5.06.

61. The percentage of investors required under the “no-action” clauses to demand that
the securitization trustee act on investors’ behalf is usually unobtainable: investors are spread
across the world, are generally unknown to each other, and many for various reasons are averse to
litigation. In practice, investors are defenseless against misconduct by servicers except through
action by the securitization trustee.

62. Despite overwhelming evidence of pervasive misconduct by mortgage servicers in
general and by Ocwen in particular, the securitization trustees for both of the American Home
trusts did nothing to investigate Ocwen’s misconduct or to hold Ocwen accountable for that
misconduct.

63. The provisions of the governing documents for the American Home trusts that are
legally significant here—the separation of legal ownership and equitable or beneficial ownership,
the limited function of securitization trusts as mortgage investment conduits, the comprehensive
powers granted servicers, and dependence of investors on securitization trustees to act on
investors’ behalf—were included in governing documents of the trusts for other securitized
mortgages that Ocwen serviced and continues to service, and Ocwen’s conduct was identical with
respect to securitized mortgages across all trusts, New York common law trusts and Delaware
Statutory Trusts alike.

V. THE ROLE OF THE SERVICER

64. Mortgage servicers are responsible for managing, or “servicing,” securitized
mortgages. Mortgage servicers send bills and notices to homeowners, collect payments, maintain
escrow accounts for taxes and insurance, foreclose on homes upon default, and maintain and sell
foreclosed homes. Servicers have broad authority to engage in loss mitigation for mortgages in

default or in danger of default, which includes the power to modify mortgages to avoid foreclosure.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 13 of 39

65. The powers granted the master servicer under the Trust 2004-4 Servicing
Agreement are comprehensive: the “Master Servicer shall supervise, or take such actions as are
necessary to ensure, the servicing and administration of the Mortgage Loans and any REO Property
in accordance with this Servicing Agreement and its normal servicing practices, which generally
shall conform to the standards of an institution prudently servicing mortgage loans for its own
account and shall have full authority to do anything it reasonably deems appropriate and desirable
in connection with servicing and administration.” Trust 2004-4 Servicing Agreement, section 3.01.

66. The powers granted the servicer of the securitized mortgages in Trust 2005-3 are
the same. Trust 2005-3 Servicing Agreement, Section 3.01.

67. For performing mortgages — the norm before the housing bubble burst — servicing
seldom necessitated the sweeping discretionary powers granted by the governing documents of
securitization trusts. Instead, mortgage servicing typically required only the rote application of
clear procedures, an unglamorous, back-office function. Servicing of mortgages in default or
danger of default, however, is “discretion-intensive.” A.J. Levitin and T. Twomey, Mortgage
Servicing, 28 Yale J. on Reg. 1, 4 (Winter 2011).

68. | The compensation for servicers did not align the interest of servicers and investors
in securitized mortgages once the housing bubble burst. The various ways in which the servicers
are compensated are affected by factors within the servicers’ discretionary control. The
compensation of servicers created many opportunities for self-dealing at the expense of investors.

69. The servicer receives a servicing fee, a percentage of the unpaid principal balance
on the mortgages in a securitization trust, generally 50 basis points for subprime mortgages.
Servicers deduct the servicing fee from the homeowner payments that the servicer pays, directly
or indirectly, to investors. The master servicing fee is thus an incentive to servicers to keep

mortgages in the trust and not reduce the principal, even where principal reduction would be the
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 14 of 39

most effective loss mitigation measure to avoid foreclosure and protect investors from unnecessary
losses.

70. Servicers “may retain additional servicing compensation in the form of prepayment
charges..., tax service fees, fees for statement of account or payoff, late payment charges, or
otherwise, to the extent such fees are collected from the related Mortgagors or, with respect to a
Liquidated Mortgage Loan, to the extent such fees have accrued.” Trust 2004-4 Servicing
Agreement, section 3.15(b). These “ancillary fees” provide little incentive to servicers to help
homeowners remain current or become current in their mortgage payments. Fees for late or partial
payments or bounced checks are typically five percent of the payment, an amount well in excess
of the costs to servicers that result from such payments by homeowners.

71. Ancillary fees are charged to homeowners, which makes default by already
struggling homeowners more likely, or are deducted from the proceeds of foreclosure before any
payment to the trust or investors.

72. Servicers are also “reimbursed” for the costs associated with foreclosure, such as
home inspection, appraisals, title searches, home maintenance costs, and marketing foreclosed
homes. Such foreclosure costs are collected in full by servicers from the proceeds of foreclosure
before any payment to investors.

73. Servicers are thus highly likely to collect ancillary fees and foreclosure costs, even
fees and costs that are wildly inflated, not legally allowed, or for services not really provided.
Servicers can largely impose fees and costs for mortgages in default or foreclosure in almost any
amount at will, legal or not, without legal challenge. Homeowners in non-recourse states cannot
be held liable for any deficiency on foreclosure, and in states that allow mortgagees to collect
deficiencies from foreclosure, deficiencies are usually uncollectable and rarely pursued. Illegal or
inflated ancillary fees and foreclosure costs, therefore, usually are paid from the proceeds of

foreclosure sales, and thus effectively are taken from investors’ pockets.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 15 of 39

VI. AMERICAN HOME’S RISE AND FALL, AND OCWEN’S ACQUISITION OF
SERVICING RIGHTS FOR THE AMERICAN HOME TRUSTS.

74. American Home grew explosively during the subprime mortgage bubble and
became the nation’s tenth-largest mortgage lender. The lending practices that allowed American
Home’s explosive growth doomed American Home to fail.

75. American Home originated mortgages to borrowers with no down payment and no
documented income. According to a personal account by a borrower published in The New York
Times, an American Home loan officer told the borrower not to disclose substantial alimony or
child support obligations on his application. According to American Home employees, managers
told employees not to decline loans where they knew that the application included fraud. A report
by the Office of Comptroller of the Currency in 2010 named American Home one of the worst
subprime and low-documentation mortgage lenders in the nation based upon foreclosure rates for
mortgages originated from 2004 to 2007.

76. The end came quickly for American Home when the subprime bubble burst.
American Home announced on July 31, 2007, after investment banks issued margin calls or
otherwise demanded immediate payment on outstanding debt, that the company would no longer
originate or buy mortgages. The company laid off almost 90 percent of its employees on August
3, 2007, and closed all but its thrift and mortgage-servicing businesses. The company entered
bankruptcy on August 6, 2007.

77. A private equity firm, Wilbur Ross & Co. LLC, purchased American Home
Mortgage Servicing, Inc. from bankruptcy in November, 2007, and renamed the corporation
Homeward Residential Holdings, Inc. (“Homeward”) in February, 2008.

78. On December 27, 2012, Ocwen acquired Homeward from Wilbur Ross & Co. LLC.

79.  Atall times relevant to this action, the securitized mortgages in the American Home

trust’s estate in which the plan held a beneficial ownership interest were serviced by Ocwen or by
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 16 of 39

Homeward, the liabilities of which Ocwen assumed. Any reference in this Complaint to Ocwen’s
conduct refers also to the conduct of Homeward.

80. Homeward and Ocwen, as successors to American Home Mortgage Servicing, Inc.,
stood in the shoes of American Home Mortgage Servicing, Inc. and assumed all of the rights,
powers and liabilities of American Home Mortgage Servicing, Inc. as servicer for the securitized
mortgages in the American Home trusts.

VI. OCWEN’S STATUS AS A FIDUCIARY UNDER ERISA

81. Congress enacted ERISA in 1974 to safeguard the continued well-being and
security of millions of Americans who depend on the nation’s benefit plans.

82. A person is a fiduciary with respect to a benefit plan “to the extent ... [he] exercises
any authority or control respecting management or disposition of its assets.” 29 U.S.C. §
1002(21)(A).

A. THE STATUS OF SECURITIZED MORTGAGES AS PLAN ASSETS

83. The ERISA statute delegates authority to the Secretary of Labor to define “plan
assets.” 29 U.S.C. § 1002(42) (“[T]he term ‘plan assets’ means plan assets as defined by such
regulations as the Secretary may prescribe.”). Under Department of Labor regulations, “in the
case of a plan's investment in an equity interest of an entity that is neither a publicly-offered
security nor a security issued by an investment company registered under the Investment Company
Act of 1940, its assets include both the equity interest and an undivided interest in each of the
underlying assets of the entity” where the entity is not “primarily engaged, directly or through a
majority owned subsidiary or subsidiaries, in the production or sale of a product or service other
than the investment of capital.” 29 C.F.R. § 2510.3-101(a)(2) and (c)(1).

84. “A profits interest in a partnership, an undivided ownership interest in property and
a beneficial interest in a trust are equity interests,” 29 C.F.R. § 2510.3-101(b), and thus plan assets

of a benefit plan that invests in those entities.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 17 of 39

85. Under the Delaware statute, a “beneficial owner [in a Delaware Statutory Trust]
shall have an undivided beneficial interest in the property of the statutory trust and shall share in
the profits and losses of the statutory trust....” Title 12 Del. Code § 3805(a).

86. Under the governing documents of both American Home trusts, the American
Home trusts granted the securitization trustee legal title to the securitized mortgages and all related
property interests “as trustee for the benefit of [investors].” Trust 2004-3 Indenture, Section
Granting Clause; Trust 2005-3 Indenture, Granting Clause. The governing documents state
throughout that securitization trustees are to act for the benefit of investors.

87. The Department of Labor issued an advisory opinion in 1996 that specifically
addressed the application of the regulation’s “look through” rule, 29 U.S.C. § 2510.3-101(b)(1),
to mortgages in securitization trusts and advised that “when a plan indirectly retains investment
management services by investing in a pooled investment vehicle, the assets of the vehicle should
be viewed as plan assets and managed in accordance with the fiduciary responsibility provisions
of ERISA.” DOL Advisory Opinion 96-23A.

B. OCWEN’S DISCRETIONARY CONTROL OVER PLAN ASSETS

88. Ocwen, as successor servicer, was contractually granted and has exercised
sweeping discretionary control over the securitized mortgages held in the American Home trusts
and, therefore, is a fiduciary to the benefit plans that invested in those securitizations.

89. Even without such comprehensive contractual powers, Ocwen’s conduct would
confer status as fiduciary to benefit plan investors with respect to the securitized mortgages. The
definition of fiduciary is liberally construed and functional. Ifa person exercises control over plan
assets, regardless of formal contractual delegation of authority, that person is a fiduciary to the
plan.

90. Control of plan assets sufficient to pilfer or otherwise engage in self-dealing, as

Ocwen has done, confers fiduciary status.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 18 of 39

91. Ocwen’s misconduct was the same with respect to all securitized mortgages over
which Ocwen had discretionary control, without regard to any differences in language in the
governing documents of the securitization trusts.

C. OCWEN’S FIDUCIARY DUTY TO THE ERISA PLANS

92. The duty that ERISA imposes on fiduciaries is the highest known to the law. It is
a far cry from the “ripping eyeballs out” and “getting paid” culture of the financial institutions
involved in mortgage securitization. G. Smith, Why I Am Leaving Goldman Sachs, The New York
Times (op-ed) (March 14, 2012) (internal quotation marks omitted) (available at
http://www.nytimes.com/2012/03/14/opinion/why-i-am-leaving-goldman-sachs.html?_r=0).

93. The “prudent man” standard of care ERISA imposes on a fiduciary requires the
fiduciary to “discharge his duties with respect to a plan . . . with the care, skill, prudence, and
diligence that a prudent man acting in a like capacity and familiar with such matters would use in
the conduct of an enterprise of a like character and with like aims.” 29 U.S.C. § 1104(a)(1)(B).

94. The duty of exclusive loyalty requires a fiduciary to “discharge his duties with
respect to the plan solely in the interests of the participants and beneficiaries of the plan.” 29 U.S.C.
§1104(a).

95. A fiduciary is required to avoid “prohibited transactions,” certain transactions with
such inherent risk of self-dealing that the transactions are per se breaches of fiduciary duties.
Prohibited transactions are defined by 29 U.S.C. §1106(b)(1) & (3).

96. The statute specifically identifies several transactions between benefit plans and

“parties in interest” that are prohibited. 29 U.S.C. § 1106(a).! A “party in interest” generally

 

129 U.S.C § 1106, provides, in relevant part:
(a) Transactions between plan and party in interest. Except as provided in section 1108 of this title:

(1) A fiduciary with respect to a plan shall not cause the plan to engage in a transaction, if he knows
or should know that such transaction constitutes a direct or indirect—
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 19 of 39

includes any fiduciary to the plan, any entity that provides services to the plan, and anyone related
to the foregoing. See 29 U.S.C. § 1002(14). All defendants herein are parties in interest with
respect to the mortgages in which the Plan and other benefit plans invested.

97. The prohibitions of 29 U.S.C. §1106 reach almost every transaction between
benefit plans and parties in interest. The statute excepts reasonable compensation for services
rendered and the “reimbursement of expenses properly and actually incurred in the performance
of [a party in interest’s] duties with the plan,” 29 U.S.C. § 1108.

98. The statute establishes a blanket prohibition, easily applied, on any fiduciary
receiving any compensation, even reasonable compensation taken in good faith, from third parties
for transactions that involve assets of the plan to which the fiduciary owes the fiduciary obligation.
29 U.S.C. §1106(b)(3).

99. The statute provides that the Department of Labor may issue individual and class
prohibited-transaction exemptions. 29 U.S.C. §1108(a). The conduct at issue herein does not
conform to the safeguards against self-dealing that are conditions of any prohibited transaction
exemption issued by the Department of Labor with respect to mortgage securitization or mortgage
servicing.

Vil. THE STATUTORY PROHIBITION ON EXCULPATION FROM FIDUCIARY
DUTIES AND LIABILITIES

100. ERISA provides that “any provision in an agreement or instrument which purports

to relieve a fiduciary from responsibility or liability for any responsibility, obligation, or duty

 

(A) sale or exchange, or leasing, of any property between the plan and a party in interest;
(B) lending of money or other extension of credit between the plan and a party in interest;
(C) furnishing of goods, services, or facilities between the plan and a party in interest;

(D) transfer to, or use by or for the benefit of a party in interest, of any assets of the plan; or

(E) acquisition, on behalf of the plan, of any employer security or employer real property in
violation of section 1107(a) of this title.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 20 of 39

under [the fiduciary duty provisions of ERISA] shall be void as against public policy.” 29 U.S.C.
§ 1110(a) Gnternal citations omitted).

101. Any clause in the governing documents that provides that investors cannot bring a
legal action without a demand on the securitzation trustee by a certain percentage of investors is
void as against public policy with respect to claims for breach of fiduciary duty on behalf of benefit
plans.

102. Any contractual provision that purports to relieve Ocwen or related defendants of
the duty to manage mortgages in which benefit plans invested with undivided loyalty to benefit
plan beneficiaries and participants and with “skill, care, prudence, and diligence,” 29 U.S.C. §
1004(a)(1)(B), or that limits liability for breach of that duty, is void as against public policy.

103. Any contractual provision that purports to relieve Ocwen or any party of

responsibility or liability for the duty not to engage in or allow prohibited transactions is void as

against public policy.
IX. SPECIFIC ALLEGATIONS OF OCWEN’S BREACH OF FIDUCIARY DUTY
UNDER ERISA

A. OCWEN’S AND ALTISOURCE’S MORTGAGE SERVICING EMPIRE

104. William C. Erbey founded Ocwen in the eighties as a specialty servicer for
distressed mortgages. Ocwen grew ten-fold after the financial crisis began. Beginning in 2009,
Ocwen began to acquire mortgage-servicing rights from other servicers.2 Ocwen’s servicing

portfolio grew from 351,595 residential loans with an aggregate unpaid principal balance of $50

 

2 In September 2012, Ocwen acquired Litton Loan Servicing, LP, from Goldman Sachs and
assumed that partnership’s mortgage rights and all liabilities of that partnership.

In December 2012, Ocwen acquired Homeward Residential, Inc., as set forth in the body of the
Complaint, and assumed that corporation’s mortgage servicing rights and all liabilities of the
corporation.

In March 2013, Ocwen purchased all mortgage servicing rights from Ally Financial.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 21 of 39

billion at the end of 2009 to 2,861,918 residential loans with an aggregate unpaid principal balance
of $464.7 billion by the end of 2013.

105. Also in 2009, Ocwen divested various fee-based servicing business lines to the
Altisource Defendants. The services performed by Altisource included home valuations, property
preservation, sale of foreclosed homes, mortgage charge-off collection services, and insurance
services.

106. Erbey owned approximately 15 percent of Ocwen’s stock as of December 19, 2014.
Erbey owned approximately 26 percent of Altisource’s stock from 2012 until 2014, according to
an Order entered by the Securities and Exchange Commission on January 20, 2016. Erbey also
held substantial stock options for both Ocwen and Altisource. As of December 19, 2014, Erbey
was CEO of Ocwen Financial Corporation, Executive Chairman of Ocwen Loan Servicing, LLC,
and Chairman of the Boards of Altisource and three affiliates or subsidiaries of Altisource. Several
Ocwen employees left Ocwen to become employees and board members of Altisource. Other
Ocwen executives held substantial investments in Altisource shares. The Chief Risk Officer of
Altisource was also the Chief Risk Officer of Ocwen and reported directly to Erbey in both
positions.

107. Ocwen used the separate corporate existence of the Altisource Defendants to
channel profits from self-dealing.

108. Deference to the corporate form with respect to Ocwen and the Altisource
Defendants and all related subsidiaries would run contrary to the explicit purposes of ERISA.
Ocwen and the Altisource Defendants are alter egos for purposes of the fiduciary duties imposed
by the statute.

B. THE HARM To ERISA PLAN INVESTORS FROM OCWEN’S AND ALTISOURCE’S
SERVICING PRACTICES

109. Ocwen’s and Altisource’s servicing practices resulted in great profits for Ocwen

and Altisource, and caused great harm both to homeowners and to investors. Ocwen and
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 22 of 39

Altisource intentionally pushed homeowners into distress or kept homeowners in distress, and
caused avoidable foreclosures, so Ocwen and Altisource could charge excessive and illegal fees.

110. Ocwen sabotaged mortgage modifications that would give homeowners in distress
sustainable mortgages, mortgages that homeowners could pay in full and on time. Sustainable
mortgages would have reduced foreclosures and increased the net present value of the mortgages
to the advantage of investors. Foreclosures on subprime mortgages result in the loss of more than
half of the value of mortgages to investors, the beneficial owners of securitized mortgages.

111. Ocwen sabotaged those modifications because ancillary fees and foreclosure costs
made distressed mortgages much more profitable to Ocwen than performing mortgages.

112. Ocwen charged illegal and excessive fees and expenses, either directly or through
Altisource or third parties, such as the Assurant Defendants and the HomeSure Defendants.

113. Ocwen regularly claimed not to have received or to have lost documents required
for mortgage modifications.

114. Ocwen routinely backdated letters that announced deadlines for homeowners to
provide documents required for modification that often had come and gone before the letter was
sent.

115. Ocwen failed to provide homeowners a “single point of contact.” Instead,
homeowners with the patience to remain on hold indefinitely spoke with a different Ocwen
employee each time.

116. Ocwen proceeded with foreclosure proceedings and sales while Ocwen pretended
to work in good faith with homeowners to modify their mortgages to avoid foreclosure, and
sometimes completed foreclosure sales when homeowners were within deadlines announced by

Ocwen to submit documents to support applications for mortgage modification.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 23 of 39

117. Ocwen engaged in “mass denial sweeps” in which Ocwen denied homeowners
mortgage modifications for the stated reason that necessary documents were missing, or the
documents that had been submitted were out of date.

118. The effect of Ocwen’s conduct was to frustrate, confuse and discourage
homeowners who tried in good faith to save their homes from foreclosure, which resulted in
avoidable foreclosures and caused enormous unnecessary losses for investors.

119. Ocwen’s conduct quickly attracted the attention of federal and state regulatory
agencies and has kept their attention.

120. On December 5, 2012, Ocwen Loan Servicing entered a Consent Order with the
New York State Department of Financial Services. Consent Order Under New York Banking Law
§ 44, In the Matter of Ocwen Loan Servicing, LLC (NYDFS Dec. 5, 2012) (available at
http://www.dfs.ny.gov/about/ea/eal21205.pdf). The Consent Order was based upon an
examination that found that Ocwen had (1) failed to provide homeowners with a single point of
contact who was familiar with each assigned homeowner’s circumstances; (2) proceeded
simultaneously with foreclosure proceedings and loan modification (dual-tracking); (3) failed to
conduct an independent review of loan modification denials; and (4) failed to monitor “third-party
vendors.”

121. On February 26, 2014, Judge Rosemary M. Collyer of the United States District
Court for the District of Columbia entered a consent judgment in an action brought by the U.S.
Consumer Financial Protection Bureau (““CFPB”) and attorneys general or banking regulators of
49 states and the District of Columbia against Ocwen Financial Corporation and Ocwen Loan
Servicing, LLC. Consent Judgment, Dkt. No. 12, Consumer Financial Protection Bureau v. Ocwen
Financial Corporation, No. 13-cv-2025 (RMC) (D.D.C. Feb. 26, 2014) (available at

https://nationalocwensettlement.com/Portals/0/Documents/ConsentJudgement.pdf). The

 

settlement also covered Litton Home Servicing LP and Homeward Residential Holdings LLC,
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 24 of 39

formerly American Home Mortgage Servicing, Inc., both of which Ocwen had purchased. The
complaint alleged violations of federal and state law that included Ocwen’s (1) failure to apply
payments accurately and to maintain accurate account statements; (2) imposition of unauthorized
fees; (3) imposition of force-placed insurance when Ocwen knew that the homeowner already had
adequate coverage; (4) failure to provide accurate and timely information about loan modifications
or other loss mitigation services; (5) referral of loans to foreclosure while homeowners pursued
loan modification efforts in good faith; (6) failure to honor in-process trial modifications; (7)
provision of false or misleading reasons for the denial of loan modifications; (8) improper denial
of loan modifications to eligible homeowners; and (9) filing of false documents with courts and
regulatory agencies, which included the false attestations in affidavits known as “robo-signing.”
122. Ocwen and the New York State Department of Financial Services entered a second
Consent Order on December 19, 2014. Consent Order Under New York Banking Law § 44, In the
Matter of Ocwen Financial Corporation, Ocwen Loan Servicing, LLC (NYDFS Dec. 22, 2014)

(available at http:/Awww.dfs.ny.gov/about/ea/eal41222 pdf). An independent compliance monitor

 

retained pursuant to the earlier order found that Ocwen (1) initiated foreclosure proceedings
without legal authority to do so; (2) made incorrect statements to the court in foreclosure
proceedings; (3) pursued foreclosure when modification applications were still pending (dual-
tracking); (4) failed to designate a single point of contact for homeowners; and (5) routinely
backdated letters to homeowners, which included letters that imposed deadlines on homeowners
that had come and gone before the letters were sent. The Department’s review also found
“widespread conflicts of interest with related parties,” the Altisource Defendants. As discussed
above, Erbey was the Executive Chairman and largest shareholder of Ocwen and also the
Chairman of the Boards of Directors and largest shareholder of each of the Altisource Defendants.
Other Ocwen executives and directors also held significant investments in both Ocwen and

Altisource. “Conflicts of interest are evident at other levels of the Ocwen organization,” the
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 25 of 39

Consent Order said. The Chief Risk Officer for Altisource Portfolio Solutions was also the Chief
Risk Officer for Ocwen and reported directly to Erbey in both capacities. Ocwen contracted with
Altisource to perform fee-based services, often for more than Altisource charged other customers.
These “charges [] were passed on to borrowers and investors.” Ocwen also contracted with
Altisource to perform services that Altisource lacked the capacity to perform properly when more
capable vendors were available.

123. On April 20, 2017, the CFPB filed a second complaint against Ocwen, this time in
the Southern District of Florida. Complaint, Dkt. No. 1, Consumer Fin. Prot. Bureau v. Ocwen
Fin. Corp., No. 17-CV-80495 (S.D. Fla. Apr. 20, 2017) (available at
http://files.consumertinance. gov/f/documents/20170420_cfpb_ Ocwen-Complaint.pdf). The
complaint alleged that Ocwen (1) improperly calculated loan balances; (2) misapplied borrower
payments; (3) failed to process escrow and insurance payments correctly; (4) failed to investigate
consumer complaints properly; (5) illegally foreclosed upon loans; (6) charged improper late fees;
(7) charged fees for work that homeowners denied had been done and for which Ocwen had no
documentation; (8) imposed force-placed insurance and sometimes foreclosed on homeowners
whose hazard insurance was cancelled because of Ocwen’s failure to disburse funds from the
homeowners’ escrow accounts; (9) improperly created escrow accounts for homeowners who paid
taxes and hazard insurance premiums directly; (10) imposed force-placed flood insurance on
homeowners who already had flood insurance or were not required to have flood insurance; (11)
routinely sent misleading solicitations to homeowners for at least 109 “add-on” products such as
home warranty products, credit monitoring or theft protection, and sometimes enrolled
homeowners in add-on products without homeowners’ consent; (12) wrongfully charged
foreclosure fees; (13) commenced foreclosure proceedings and conducted foreclosure sales when

homeowners had applications for modification under review, or were within deadlines set by
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 26 of 39

Ocwen to provide additional information; and (14) conducted foreclosure sales on homeowners
who were performing on loan modifications.

124. Also on April 20, 2017, the Commissioner of Banks of North Carolina, on behalf
of North Carolina and six other states, entered a Cease and Desist Order against Ocwen for
mishandling homeowners’ escrow accounts for taxes and insurance. Cease and Desist Order, Jn
the Matter of Ocwen Loan Servicing, LLC, No. 17:025:MBB (N.C. Comm’r of Banks Apr. 20,
2017) (available at
http://nccob. gov/public/docs/News/Press%20Releases/OcwenOrderl7_025.pdf). The Cease and
Desist Order included findings of fact that Ocwen faced “numerous substantiated consumer
complaints regarding escrow accounts that have been mismanaged, resulting in significant harm
to consumers, and request for reimbursement of monies wrongfully withheld or misapplied.”

125. Also on April 20, 2017, the Division of Banks of the Commonwealth of
Massachusetts issued a temporary cease and desist order against Ocwen. Findings of Fact and
Temporary Order to Cease and Desist and Order to Show Cause and Notice of Right to a Hearing,

In the Matter of Ocwen Loan Servicing, LLC, No. 2017-001 (Mass. Div. of Banks Apr. 20, 2017)

 

(available at http://www.mass. gov/ocabr/banking-and-finance/laws-and-
regulations/enforcement-actions/2017-dob-enforcement-actions/ocwen04202017. html). The

 

Massachusetts order found, based upon a coordinated examination by several state mortgage
regulators, that Ocwen (1) “engaged in a pattern and practice of unsafe and unsound loan servicing
by manipulating the lender-placed force-placed insurance market and artificially inflating the
premiums and then passing the improperly inflated premiums onto consumers”; (2) collected
unearned commissions and other benefits through its arrangements with the insurers, which
included contracts to perform services of dubious benefit to the insurers at inflated prices; (3) failed
to make timely payments from escrow accounts to taxing authorities and insurers; (4) overcharged

homeowners for property inspections conducted by Altisource; (5) charged other inflated fees in
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 27 of 39

“related party transactions” with Altisource; and (6) conducted short sales through another
subsidiary of Altisource, which increased fees but did not increase the likelihood that “the
borrower and investor receive a market price for the short sale.”

126. Inall, 22 states filed cease-and-desist orders on April 20, 2017, and nine more have
filed orders since.

127. Ocwen’s conduct has also been the subject of much litigation by homeowners. In
April of 2015, Ocwen paid homeowners $140 million, or 12.5 percent of premiums during the
class period, to resolve allegations that it charged excessive premiums on force-placed insurance
and entered into an exclusive agreement with insurance companies for inflated premiums in return
for illegal kickbacks.

128. The conduct of which Ocwen has been accused and paid millions of dollars to
resolve caused avoidable foreclosures, which greatly harmed benefit plan investors in securitized
mortgages, and improperly reduced the proceeds of foreclosures that were paid to securitization
trusts and investors.

129. In addition to the harm to the Plan and other benefit plan investors caused by
Ocwen’s breach of fiduciary duty, Ocwen used the control of mortgages that are or were benefit
plan assets to profit in breach of Ocwen’s fiduciary duties.

130. Even if Ocwen’s conduct described in these state and federal proceedings was the
result of incompetence rather than greed, which state and federal regulatory authorities appear very
generously to have assumed, the conduct breached Ocwen’s duty to act with the care, skill,
prudence and diligence that a prudent man would have used in the circumstances, as required by

ERISA, and constituted prohibited self-dealing that is a per se breach of fiduciary duties.
 

 

 

Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 28 of 39

C. ERBEY’S CONSIDERATION FOR CONTRACTS BETWEEN OCWEN AND
ALTISOURCE

131. Erbey was the largest shareholder in Ocwen, and an even larger shareholder in each
of the Altisource Defendants. He personally and actively controlled and dominated all of the
Ocwen and Altisource Defendants.

132. Ocwen and the Altisource Defendants entered contracts for the Altisource
Defendants to perform fee-based services that involved mortgages that were benefit plan assets.

133. Altisource charged impermissible fees, fees for services not needed or not actually
performed, and excessive fees. Altisource charged more for services than the market rate and more
than Altisource charged other customers for the same services.

134. Ocwen — controlled by Erbey — had little incentive to challenge Altisource’s fees
or to seek cheaper fees from other sources, and did not do so.

135. Ocwen contracted with Altisource to perform services that Altisource lacked the
capacity to perform properly.

136. Ocwen structured transactions, such as the contracts with the Assurant Defendants
described below, to generate profits for Altisource and enrich Erbey personally.

137. All of these contracts were prohibited transactions within the meaning of 29 U.S.C.
§ 1106(b)(1) and (3).

138. The Altisource Defendants knowingly participated in Ocwen’s prohibited
transactions and breach of fiduciary duty to benefit plans that invested in mortgages that Ocwen
serviced.

D. OCWEN’S DIRECT OR INDIRECT CONSIDERATION FROM THE ASSURANT

DEFENDANTS, HOMESURE DEFENDANTS AND OTHER ADD-ON PRODUCT
VENDORS

139. The Assurant Defendants provided force-placed insurance for homes that were

subject to mortgages that Ocwen serviced. Force-placed insurance is meant to protect against
 

 

Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 29 of 39

hazards that would diminish the value of the home as collateral for the mortgage, supposedly where
the homeowner’s own insurance has been cancelled or lapsed, or is inadequate.

140. Ocwen either charged the premiums to homeowners or was reimbursed for the
premiums from the proceeds of foreclosure before any payment to investors.

141. Ocwen entered into exclusive contracts with the Assurant Defendants to provide
force-placed insurance for premiums that were several times higher than the coverage available to
homeowners, and significantly higher than other available force-placed insurance. The Assurant
Defendants also imposed insurance that exceeded homeowners’ mortgages, or for hazards for
which homeowners were not required to have insurance.

142. Ocwen had little incentive to find cheaper insurance and did not attempt to do so.

143. The Assurant Defendants paid a percentage of the premiums they collected to
Ocwen, either directly or indirectly through payments to the Altisource Defendants. The payments
were sometimes paid openly and sometimes disguised as payments for services provided to the
Assurant Defendants by Ocwen or Altisource, such as reinsurance.

144. The HomeSure Defendants provide home warranty and service plans to
homeowners whose mortgages are serviced by Ocwen.

145. Ocwen deceptively marketed the home warranty products and include charges for
the products in monthly mortgage statements. Ocwen sometimes charged homeowners for home
warranty products that the homeowners did not agreed to purchase.

146. Home warranty products are service agreements between homeowners and a home
warranty company for the home warranty company to perform certain maintenance, repairs, or
replacement of household appliances, heating and air conditioning systems, plumbing and
electrical systems, and the like. Home warranty products are generally unnecessary, and the charge
for those products is often excessive. Home warranty companies, including the HomeSure

Defendants, have been the subject of frequent consumer complaints.
 

Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 30 of 39

147. The HomeSure Defendants divide the payments for the home warranty products
with Ocwen or pay Ocwen a commission or other compensation.

148. The payments to Ocwen or Altisource from the Assurant Defendants and from the
HomeSure Defendants constitute “consideration for [Ocwen’s] own ... account from a[] party
dealing with such plan in connection with a transaction involving the assets of the plan,” and are
thus prohibited transactions. 29 U.S.C. § 1106(b)(3).

149. According to the 2017 CFPB complaint against Ocwen, Ocwen marketed more than
109 add-on products and included charges for the products in homeowner’s monthly payments.
The add-on products included identity theft protection, credit monitoring, and other financial
advisory products and services. Certainly most and probably all of the add-on product vendors
paid Ocwen commissions or other compensation for marketing the products and for processing
payments for the products. The commissions or other compensation that add-on product vendors
have paid Ocwen are prohibited transactions.

150. The Assurant Defendants and the HomeSure Defendants are parties in interest and
knowingly participated in Ocwen’s prohibited transactions and breach of fiduciary duty to benefit
plans that invested in mortgages that Ocwen serviced. |

E. OCWEN’S AND BENEFIT PLAN INVESTORS’ ADVERSE INTERESTS FROM OCWEN’S
MORTGAGE LENDING

151. Ocwen is also a mortgage lender and owns mortgages, such as home equty loans or
lines of credity, that are junior to securitized mortgages that Ocwen servies.

152. Ocwen’s ownership interest in such junior mortgages creates even more
opportunities for self-dealing. Adding debt secured by the same home makes default on the more
senior mortgages more likely, to the disadvantage of investors in those senior mortgages.

153. The reduction in principal on more senior mortgages increases the collateral for

holders of junior mortgages.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 31 of 39

154. Any modification by Ocwen of a senior mortgage that is a plan asset on a home on
which Ocwen holds an interest in a junior mortgage constitutes dealing with plan assets for
Ocwen’s own interest.

155. An Ocwen affiliate, Homeward Residential, Inc, refinances mortgages. Performing
mortgages — mortgages that are neither in default nor delinquent — are profitable to mortgage
investors. A refinance of a performing mortgage is thus detrimental to the interests of investors in
the mortgage that is refinanced.

156. Another Ocwen affiliate, Liberty Home Equity Solutions, Inc., offers reverse
mortgages for older homeowners with significant equity in their homes. A reverse mortgage
makes default on existing senior mortgages more likely.

157. Ocwen’s marketing of reverse mortgages to homeowners whose mortgages Ocwen
services in which benefit plans invested uses benefit plan assets for Ocwen’s profit in breach of
Ocwen’s fiduciary duty under ERISA.

F. OCWEN’S PRINCIPAL REDUCTIONS TO SETTLE REGUATORY ENFORCEMENT
ACTIONS FOR OCWEN’S MISCONDUCT

158. “Court documents paint a brutal portrait of Ocwen’s servicing practices,” an article
in National Mortgage News said of the allegations of the recent legal actions against Ocwen by
CFPB and state regulators. The allegations of previous enforcement actions have also been harsh,
but the sanctions imposed on Ocwen have never been as harsh as the criticisms of Ocwen’s
misconduct would suggest.

159. The Consent Order entered in 2013 with the CFPB, 49 states and the District of
Columbia required that Ocwen go forth and sin no more, and follow more detailed servicing
guidelines required in an earlier settlement with other mortgage servicers. The Order required
Ocwen to pay $127 million to a “consumer relief fund,” which would be distributed to homeowners

on whose homes Ocwen had foreclosed from January 1, 2009 until December 21, 2012.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 32 of 39

160. Ocwen also agreed to reduce $2 billion in principal on mortgages that Ocwen
serviced but in which Ocwen held no beneficial ownership interest.

161. Ocwen entered a Consent Order on February 17, 2017 with the Commissioner of
Business Oversight of the State of California for similar allegations of misconduct by Ocwen.
Ocwen agreed to make cash payments of $27 million to homeowners and the Department for
“penalties, costs and fees,” and to provide “Debt forgiveness of One Hundred and Ninety-Eight
Million Dollars ($198,000,000) through loan modification” for California homeowners. The debt
forgiveness required by the California Consent Order was also on mortgages that Ocwen serviced
but in which Ocwen had no beneficial ownership interest.

162. Ocwen acknowledged that it paid nothing toward the principal reduction that was
required because of its misconduct: “Principal forgiveness does not involve an expense to Ocwen
other than the operating expense incurred in arranging the modification, which is part of Ocwen’s
role as loan servicer,” Ocwen said in a December 19, 2013 filing with the Securities and Exchange
Commission.

163. The settlements provided Ocwen an incentive to reduce principal by more than was
required as risk mitigation to avoid foreclosure, which would violate prudent servicing standards
and harm investors.

164. Ocwen has reduced and continues to reduce the principal on mortgages that are
benefit plan assets to satisfy regulatory orders entered against Ocwen for Ocwen’s misconduct.

165. For such principal reductions on mortgages in which benefit plans invested, Ocwen
“receives consideration . . . in connection with a transaction involving the assets of the plan.” Such
modifications are therefore prohibited transactions under 29 U.S.C. § 1106(b)(3).

X. CLASS ACTION ALLEGTIONS

166. Plaintiffs bring this action pursuant to Rules 23(a) and 23(b)(1) and 23(b)(3) of the

Federal Rules of Civil Procedure on behalf of a class of trustees of all benefit plans that invested
 

 

Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 33 of 39

in securitized mortgages serviced by Ocwen, and were damaged by Defendants’ breaches of
fiduciary duties. The class period is from six years before this action was filed until the present.
Excluded from the class are any officers, directors, affiliates, legal representatives, heirs,
successors, subsidiaries, or assigns of any of those defendants or any of those defendants’
predecessors in interest in any entity in which those defendants or any predecessor in interest has
a controlling interest.

167. The members of the class are so numerous that joinder of all class members is
impractical. While the exact numbers of class members is unknown to Plaintiff at this time and
can be ascertained only through appropriate discovery, Plaintiffs believe that there are thousands,
if not tens of thousands, of trustees of benefit plans that invested in securitized mortgages serviced
by Ocwen during the class period. The class of trustees is ascertainable from records that relate
to the administration of the Trusts.

168. Plaintiffs claims are typical of the claims of the members of the class as all
members of the class are similarly affected by Defendants’ wrongful conduct in violation of
ERISA that is complained of herein.

169. Common questions of law and fact exist as to the trustees of all benefit plans that
invested in the securitized mortgages serviced by Ocwen and those questions predominate over
any question of law or fact that solely affects the trustees of any single benefit plan investor.
Among the questions of law and fact common to the class are:

170. (a) whether securitized mortgages that Ocwen serviced were plan assets of the
benefit plans that invested in those securitized mortgages and whether Ocwen has or had
discretionary control of those securitized mortgages;

171.

172. (b) whether Ocwen failed to act prudently and loyally in servicing securitized

mortgages in which benefit plans invested;
 

Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 34 of 39

173.

174. (c) whether Ocwen systematically forced homeowners into foreclosure when
other procedures would have been more beneficial to benefit plan investors;

175.

176. (d) whether Ocwen systematically charged excessive ancillary fees and
foreclosure costs ultimately paid by benefit plan investors;

177.

178. (e) whether Ocwen and the Altisource Defendants are alter egos or otherwise
related entities for purposes of the fiduciary duties imposed by ERISA;

179.

180. (@& whether Ocwen systematically paid excessive fees to the Altisource
Defendants, the Assurant Defendants, and the HomeSure Defendants

181.

182. (g) whether Ocwen received compensation or payments from those defendants
that are prohibited transactions under ERISA;

183.

184. (h) whether the Altisource Defendants, the Assurant Defendants and the
HomeSure Defendants knowingly participated in prohibited transactions;

185.

186. () whether reduction in principal by Ocwen on securitized mortgages in which
benefit plans held a beneficial ownership interest in order to satisfy regulatory enforcement orders
against Ocwen are a prohibited transaction under ERISA;

187.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 35 of 39

188. Gg) whether Ocwen, the Altisource Defendants, the Assurant Defendants and
the HomeSure Defendants were unjustly enriched through prohibited transactions for which
Ocwen and other defendants should pay restitituion; and

189.

190.  (k) whether and to what extent benefit plan investors have suffered damages as
a result of Ocwen’s breach of the duties under ERISA, and the proper measure of damages.

191.

192. A class action is superior to all other available methods for the fair and efficient
adjudication of this controversy since joinder of all members is impractical. The claims on behalf
of some benefit plans may be relatively small and the burden of individual litigation would make
it impossible for trustees of some benefit plan investors in securitized mortgages serviced by
Ocwen to redress the wrongs done to those benefit plans and would create the risk of establishing
incompatible standards of conduct for Ocwen and the other defendants. There will be no difficulty
in the management of this action as a class action.

193. Plaintiffs will fairly and adequately protect the interests of class members. Plaintiffs
have no interests antagonistic to or in conflict with the class of trustees of benefit plans that
invested in securitized mortgages serviced by Ocwen. Plaintiffs will vigorously protect the
interests of absent class members. Plaintiffs have retained counsel who are competent and have
extensive experience in complex, class action, and specifically mortgage securitization and
servicing litigation, and are well familiar with the fiduciary duty requirements of ERISA.

194. Plaintiffs have standing to represent the class of Trustees because (i) Plaintiffs
suffered injury as a result of Defendants’ alleged misconduct and, (ii) Defendants’ conduct
implicates the same set of concerns for all securitized mortgages that Ocwen serviced -- regardless
of the particular trust where the securitized mortgages are held -- as the conduct alleged to have

caused Plaintififfs’ injuries. This is so because Defendants’ conduct was uniformly imprudent and
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 36 of 39

self-interested, across all trusts whose securitized mortgages Ocwen serviced and not dependent
on the idiosyncratic characteristics of any particular trust that held securitized mortgages.

XI. COUNTS

COUNT ONE
Breach of Fiduciary Duty
In Violation of 29 U.S.C. § 1109
(Against the Ocwen Defendants)
195. Plaintiffs re-allege and incorporate by reference all allegations contained in the
preceding paragraphs of this Complaint.
196. As set forth above, Ocwen was a fiduciary of the ERISA plans and breached its
fiduciary duties in the following ways:

e Ocwen systematically forced homeowners into default and foreclosure when
other procedures would have been more beneficial to benefit plan investors;

e Ocwen systematically charged excessive or improper ancillary fees and
received payment for excessive or improper foreclosure costs ultimately paid
by benefit plan investors;

e Ocwen systematically reduced principal on mortgages that are plan assets to
satisfy regulatory enforcement orders pertaining to its own misconduct, to the
detriment of benefit plan investors;

e Ocwen systematically paid excessive or improper fees to Defendants and other
vendors for which Ocwen received kickbacks to the detriment of benefit plan
investors; and

e Ocwen systematically failed to perform other duties and discretionary acts to
the detriment of benefit plan investors.

197.

198. The benefit plans have suffered losses as a result of Ocwen’s breaches of fiduciary
duties and Defendants have been unjustly enriched.

199. Plaintiffs, as fiduciaries of the ERISA plans, are authorized by 29 U.S.C. §§
1132(a)(2) & (a)(3) to seek to require that Defendants make good to the plans any losses to the

plans that resulted from Defendants’ breaches of fiduciary duties, the disgorgement of any profits
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 37 of 39

made through use of the assets of the plan, and other appropriate relief for Ocwen’s breaches of
its fiduciary duties to the benefit plans.
COUNT TWO
Prohibited Transactions
In Violation of 29 U.S.C. § 1106(b)
(Against The Ocwen Defendants, the Altisource Defendants,
the Assurant Defendants and the HomeSure Defendants)

200. Plaintiffs re-allege and incorporate by reference all allegations contained in the
preceding paragraphs of this Complaint.

201. As set forth above, the Ocwen Defendants, Altisource Defendants, Assurant
Defendants, and the HomeSure Defendants engaged in numerous transactions prohibited by 29
U.S.C. § 1106(b).

202. The benefit plans suffered losses as a result of the prohibited transactions and
Defendants have been unjustly enriched.

203. Plaintiffs, as fiduciaries of the benefit plans, are authorized by 29 U.S.C. §
1132(a)(3), to seek appropriate equitable relief from fiduciaries and non-fiduciary parties in
interest for engaging in prohibited transactions.

204. Plaintiffs seek both injunctive relief — to proscribe future prohibited transactions —

and restitution for unjust enrichment from all Defendants.

XII. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that the Court enter judgment and order other relief as follows:

a. Enter judgment in favor of the class and against Ocwen for losses to benefit plans caused
by Ocwen’s breaches of fiduciary duty, as detailed above, and to disgorge any monies obtained
from prohibited transactions that involved plan assets;

b. Enter judgment in favor of Plaintiffs and against the Altisource Defendants for restitution
of profits from any prohibited transaction between Ocwen and the Altisource Defendants, which
includes any fees in excess of what would be available in a comparable transaction between
unrelated parties at arm’s length, with the liability of the Altisource Defendants for such transactions
joint and several with the liability of Ocwen;
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 38 of 39

c. Enter judgment in favor of Plaintiffs and against the Assurant Defendants and the
HomeSure Defendants for restitution of payments in violation of 29 U.S.C. § 1106, which includes
any commissions, profit or fee split, kickbacks, and any other payment by the Assurant Defendants
or the HomeSure Defendants to Ocwen or the Altisource Defendants, and profits from any
premiums that were more than reasonable, with the liability of the Assurant Defendants and the
HomeSure Defendants for such transactions joint and several with the liability of Ocwen and the
Altisource Defendants;

d. Enter judgment in favor of plaintiffs, on behalf of the class, to disgorge any reduction in principal
on mortgages in which benefit plans held a beneficial interest in order for Ocwen to comply with
any regulatory enforcement orders directed to Ocwen’s misconduct;

e. Enter a declaratory judgment and a preliminary and permanent injunction as follows:

(1) That no Defendant pay, and that neither Ocwen nor any Altisource
Defendant or subsidiary receive, any consideration in connection with a transaction
that involves any mortgage that is a benefit plan asset;

(2) That Ocwen not charge any fee in connection with a transaction that
involves any mortgage that is a benefit plan asset that is not required or is more
than reasonable, and any contract that requires such payment be declared void;

(3) That Ocwen and the Altisource Defendants take every measure necessary
to eliminate common ownership or control between Ocwen and any of the
Altisource Defendants;

(4) That neither Ocwen nor any subsidiary of Ocwen extend a mortgage on any
home with a mortgage that Ocwen services that is a plan asset, and that Ocwen
divest itself of any ownership interest in any mortgage on any home with a
mortgage that Ocwen services that is a plan asset;

(5) That Ocwen not charge any homeowner with a mortgage that Ocwen
services that is a plan asset for any service not specifically allowed in the
homeowner’s mortgage contract or or for a fee that is not reasonable; and

(6) That Ocwen not claim any reduction in principal on any mortgages that are
benefit plan assets as satisfaction of any regulatory enforcement order directed to
Ocwen’s misconduct.

f. Award Plaintiffs all costs of this action, including attorneys’ fees and costs pursuant to 29
ULS.C. § 1132(g)(1);

g. Enjoin Defendants from concealing, removing, encumbering or disposing of assets which
may be required to pay the judgment imposed by the Court; and

h. Order such other relief for Plaintiffs and benefit plan investors in securitized mortgages
serviced by Ocwen as the Court deems just and proper.
Case 1:18-cv-01951-VSB-SDA Document 1 Filed 03/05/18 Page 39 of 39

REQUEST FOR TRIAL BY JURY

Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Plaintiffs hereby demand a trial

by a jury.

Dated: March 5, 2018

*Pro Hac Vice Motions to be filed shortly.

Respectfully submitted,
LOWEY DANNENBERG, P.C.

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